     Case 4:20-cv-05146-YGR          Document 762      Filed 07/13/22    Page 1 of 3




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP

 2   Diane M. Doolittle (CA Bar No. 142046)          Andrew H. Schapiro (admitted pro hac vice)
     dianedoolittle@quinnemanuel.com                 andrewschapiro@quinnemanuel.com
 3   Sara Jenkins (CA Bar No. 230097)                Teuta Fani (admitted pro hac vice)
     sarajenkins@quinnemanuel.com                    teutafani@quinnemanuel.com
 4
     555 Twin Dolphin Drive, 5th Floor               191 N. Wacker Drive, Suite 2700
 5   Redwood Shores, CA 94065                        Chicago, IL 60606
     Telephone: (650) 801-5000                       Telephone: (312) 705-7400
 6   Facsimile: (650) 801-5100                       Facsimile: (312) 705-7401
 7   Stephen A. Broome (CA Bar No. 314605)           Josef Ansorge (admitted pro hac vice)
 8   stephenbroome@quinnemanuel.com                  josefansorge@quinnemanuel.com
     Viola Trebicka (CA Bar No. 269526)              Xi (“Tracy”) Gao (CA Bar No. 326266)
 9   violatrebicka@quinnemanuel.com                  tracygao@quinnemanuel.com
     Crystal Nix-Hines (Bar No. 326971)              Carl Spilly (admitted pro hac vice)
10   crystalnixhines@quinnemanuel.com                carlspilly@quinnemanuel.com
     Alyssa G. Olson (CA Bar No. 305705)             1300 I Street NW, Suite 900
11
     alyolson@quinnemanuel.com                       Washington D.C., 20005
12   865 S. Figueroa Street, 10th Floor              Telephone: (202) 538-8000
     Los Angeles, CA 90017                           Facsimile: (202) 538-8100
13   Telephone: (213) 443-3000
     Facsimile: (213) 443-3100
14

15   Jomaire Crawford (admitted pro hac vice)        Jonathan Tse (CA Bar No. 305468)
     jomairecrawford@quinnemanuel.com                jonathantse@quinnemanuel.com
16   51 Madison Avenue, 22nd Floor                   50 California Street, 22nd Floor
     New York, NY 10010                              San Francisco, CA 94111
17   Telephone: (212) 849-7000                       Telephone: (415) 875-6600
     Facsimile: (212) 849-7100                       Facsimile: (415) 875-6700
18

19 Counsel for Defendant Google LLC

20                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21

22   PATRICK CALHOUN, et al., on behalf of            Case No. 5:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
23                                                    GOOGLE’S STATEMENT OF
            Plaintiffs,                               RECENT DECISION IN SUPPORT OF
24                                                    ITS OPPOSITION TO PLAINTIFFS’
            v.                                        MOTION FOR CLASS
25                                                    CERTIFICATION
     GOOGLE LLC,
26                                                    The Honorable Yvonne Gonzalez Rogers
            Defendant.                                Courtroom 1 – 4th Floor
27                                                    Date: Vacated Pursuant to Dkt. 664
                                                      Time: Vacated Pursuant to Dkt. 664
28                                                    Amended Complaint Filed: April 16, 2021
                                                                  Case No. 5:20-cv-5146-YGR-SVK
                   GOOGLE’S STATEMENT OF RECENT DECISION ISO OPPOSITION TO MOTION FOR CLASS
                                                                                 CERTIFICATION
     Case 4:20-cv-05146-YGR          Document 762       Filed 07/13/22      Page 2 of 3




 1         Pursuant to Civil Local Rule 7-3(d)(2), Defendant Google LLC respectfully brings to the

 2 Court’s attention a newly issued opinion relevant to Plaintiffs’ Motion for Class Certification. See

 3 Dkt. 340.

 4         The opinion is the Ninth Circuit’s reversal of the Northern District of California’s decision

 5 to grant plaintiff’s motion for class certification in Bowerman v. Field Asset Servs., Inc., 2022 WL

 6 2433971, at *8 (9th Cir. July 5, 2022). The opinion is attached hereto as Exhibit A. This opinion

 7 was issued after Google filed its Opposition to Plaintiffs’ Motion for Class Certification. See Dkt.

 8 429.

 9   DATED: July 13, 2022                     QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
10

11                                              By           /s/ Andrew H. Schapiro
                                                     Andrew H. Schapiro (admitted pro hac vice)
12                                                   andrewschapiro@quinnemanuel.com
                                                     Teuta Fani (admitted pro hac vice)
13                                                   teutafani@quinnemanuel.com
                                                     191 N. Wacker Drive, Suite 2700
14
                                                     Chicago, IL 60606
15                                                   Telephone: (312) 705-7400
                                                     Facsimile: (312) 705-7401
16
                                                     Diane M. Doolittle (CA Bar No. 142046)
17                                                   dianedoolittle@quinnemanuel.com
                                                     Sara Jenkins (CA Bar No. 230097)
18                                                   sarajenkins@quinnemanuel.com
19                                                   555 Twin Dolphin Drive, 5th Floor
                                                     Redwood Shores, CA 94065
20                                                   Telephone: (650) 801-5000
                                                     Facsimile: (650) 801-5100
21
                                                     Stephen A. Broome (CA Bar No. 314605)
22                                                   stephenbroome@quinnemanuel.com
                                                     Viola Trebicka (CA Bar No. 269526)
23
                                                     violatrebicka@quinnemanuel.com
24                                                   Crystal Nix-Hines (Bar No. 326971)
                                                     crystalnixhines@quinnemanuel.com
25                                                   Alyssa G. Olson (CA Bar No. 305705)
                                                     alyolson@quinnemanuel.com
26                                                   865 S. Figueroa Street, 10th Floor
27                                                   Los Angeles, CA 90017
                                                     Telephone: (213) 443-3000
28                                                   Facsimile: (213) 443-3100
                                              -1-                 Case No. 5:20-cv-5146-YGR-SVK
                   GOOGLE’S STATEMENT OF RECENT DECISION ISO OPPOSITION TO MOTION FOR CLASS
                                                                                 CERTIFICATION
     Case 4:20-cv-05146-YGR    Document 762     Filed 07/13/22    Page 3 of 3




 1

 2                                           Jomaire Crawford (admitted pro hac vice)
                                             jomairecrawford@quinnemanuel.com
 3                                           51 Madison Avenue, 22nd Floor
                                             New York, NY 10010
 4
                                             Telephone: (212) 849-7000
 5                                           Facsimile: (212) 849-7100

 6                                           Josef Ansorge (admitted pro hac vice)
                                             josefansorge@quinnemanuel.com
 7                                           Xi (“Tracy”) Gao (CA Bar No. 326266)
                                             tracygao@quinnemanuel.com
 8                                           Carl Spilly (admitted pro hac vice)
 9                                           carlspilly@quinnemanuel.com
                                             1300 I Street NW, Suite 900
10                                           Washington D.C., 20005
                                             Telephone: (202) 538-8000
11                                           Facsimile: (202) 538-8100
12                                           Jonathan Tse (CA Bar No. 305468)
13                                           jonathantse@quinnemanuel.com
                                             50 California Street, 22nd Floor
14                                           San Francisco, CA 94111
                                             Telephone: (415) 875-6600
15                                           Facsimile: (415) 875-6700
16                                           Attorneys for Defendant Google LLC
17

18

19

20

21

22

23

24

25

26
27

28
                                          -2-                 Case No. 5:20-cv-5146-YGR-SVK
               GOOGLE’S STATEMENT OF RECENT DECISION ISO OPPOSITION TO MOTION FOR CLASS
                                                                             CERTIFICATION
